            Case 5:20-cr-00428-JLS Document 1-1 Filed 11/25/20 Page 1 of 1
                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               INDICTMENT

DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.
Address of Plaintiff:   615 Chestnut Street, Suite 1250, Philadelphia, PA 19106-4476

Post Office:    Philadelphia                              County:    Philadelphia

City and State of Defendant:        Unknown

County:     N/A                                   Register number: N/A

Place of accident, incident, or transaction:              Eastern District of Pennsylvania

Post Office: Center Valley                             County:     Lehigh
RELATED CASE, IF ANY:
Criminal cases are deemed related when the answer to the following question is Ayes@.

      Does this case involve a defendant or defendants alleged to have participated in the same action
      or transaction, or in the same series of acts or transactions, constituting an offense or offenses?
      YES/NO: No
      Case Number:                                                          Judge:
CRIMINAL: (Criminal Category - FOR USE BY U.S. ATTORNEY ONLY)
1.                  Antitrust
2.                  Income Tax and other Tax Prosecutions
3.                  Commercial Mail Fraud
4.                  Controlled Substances
5.                   Violations of 18 U.S.C. Chapters 95 and 96 (Sections 1951-55 and 1961-68) and Mail
                  Fraud other than commercial
6.                   General Criminal
          (U.S. ATTORNEY WILL PLEASE DESIGNATE PARTICULAR CRIME AND STATUTE
          CHARGED TO BE VIOLATED AND STATE ANY PREVIOUS CRIMINAL NUMBER FOR
          SPEEDY TRIAL ACT TRACKING PURPOSES)
          18 U.S.C. '' 2260(b), (c)(2) (possession of child pornography for importation into the
          United States – 1 count) ; 18 U.S.C. '' 2252(a)(1), (b)(1) transportation of child pornography – 1
          count); 18 U.S.C. '' 2252(a)(4)(B), (b)(2) (attempted access with intent to view child pornography
          – 1 count); and Notice of forfeiture




DATE:       11/25/2020                            /s/ Sherri A. Stephan
                                                  Sherri A. Stephan
                                                  Assistant United States Attorney

File No. 2017R00712
 U.S. v. William T. McCandless
